       Case 1:17-cv-01953-RDM Document 5-102 Filed 09/25/17 Page 1 of 3



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


ATLAS AIR, INC. and POLAR AIR CARGO
WORLDWIDE, INC.,                                       Civil Action No.

                               Plaintiffs,
               v.
                                                              DECLARATION OF
INTERNATIONAL BROTHERHOOD OF                           JERROLD A. GLASS IN SUPPORT OF
TEAMSTERS; INTERNATIONAL                                  PLAINTIFFS’ MOTION FOR A
BROTHERHOOD OF TEAMSTERS, AIRLINE                         PRELIMINARY INJUNCTION
DIVISION; and AIRLINE PROFESSIONALS
ASSOCIATION OF THE INTERNATIONAL
BROTHERHOOD OF TEAMSTERS, LOCAL
UNION NO. 1224,


                               Defendants.


       I, JERROLD A. GLASS, declare and state as follows:

       1.      I am the President of F&H Solutions Group (“F&H Solutions”). I have personal

knowledge of the facts set forth below and if called as a witness in this matter, I could and would

competently testify thereto.

A.     Background Regarding Work Experience

       2.      I am a recognized human resources expert and labor relations expert. I have

extensive experience as a negotiator, an analyst, and an advisor, and I have served as chief

negotiator for more than 200 different labor agreements in the airline, railroad, real

estate/property management, construction, media, and manufacturing industries. I previously

worked at US Airways, Inc. from April 2002 from September 2005, where I served as Executive

Vice President and Chief Human Resources Officer, and had overall responsibility for labor

relations, human resources, policy and compliance, benefits, compensation, recruiting, and

corporate learning and development.



                                                 1
       Case 1:17-cv-01953-RDM Document 5-102 Filed 09/25/17 Page 2 of 3



       3.      Prior to founding J. Glass & Associates, F&H Solution’s predecessor, I served

from 1980 to 1989 with the Airline Industrial Relations Conference, the labor policy and

information exchange organization of U.S. scheduled airlines, holding several senior positions,

including vice president, secretary-treasurer and director, labor relations research. I reported to

the chief executive officers and chief labor relations officers of 22 airlines and was responsible

for keeping members abreast of changes in labor agreements, contract negotiations, and trends in

collective bargaining. I am a graduate of Boston University and hold a master’s degree in public

administration from The George Washington University.

       4.      I currently serve, and have served since negotiations commenced, as chief

negotiator for Atlas Air, Inc. (“Atlas”) and Southern Air, Inc. (“Southern”) in their collective

bargaining negotiations for a joint pilot collective bargaining agreement with International

Brotherhood of Teamsters, International Brotherhood of Teamsters, Airline Division, and Airline

Professionals Association of the International Brotherhood of Teamsters, Local Union No. 1224

(collectively, the “Union”).

B.     The June 9, 2017 Telephone Call Between Representatives Of Atlas And Southern And
       Representatives Of the Union

       5.      On June 9, 2017, I participated in a telephone call with counsel for Atlas and

Southern as well as counsel for the Union. During the call, the parties discussed the agreement

that they were negotiating regarding the process for negotiating a joint collective bargaining

agreement applicable to the pilots of both Atlas and Southern.

       6.      During the conversation, counsel for Atlas informed the Union’s counsel that

Atlas knew that pilots were engaged in a status quo violation disrupting Atlas’ operations. Atlas’

counsel stated that Atlas expected the slowdown to stop as the parties negotiated for a joint

collective bargaining agreement and that Atlas reserved all of its legal rights in that regard.



                                                  2
       Case 1:17-cv-01953-RDM Document 5-102 Filed 09/25/17 Page 3 of 3



Atlas’ counsel asked that the Union’s representatives inform their clients about what he said.

They responded that they would do so.

       I declare under penalty of perjury under the laws of the United States that the foregoing

statements are true and correct.

       Executed this 25th day of September, 2017 at Washington, D.C.




                                                3
